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    Rev, 3/19


                                     UNITED STATES DISTRICT COURT
                                        WESTERN D[STRICT OF WASHINGTON


(II\,$; /1/t,rY',,1�;   s   k1fl I   u)l,\.;k-, ENJ�
    Plaintiff's.full name and prisoner numhel'

                                                Plaintiff,

    V,                                                       Case No. 3:22-cv-05410-BHS-TLF
                                                                    (leave blank - for court staff only)

                                                                         AMENDED
                                                                   PRISONER CIVIL RIGHTS
                                                                        COMPLAINT

    Defendant's/defendants' fit/! name(s)

                                            Defendant(s).                   Jury Demand?
                                                                                }(Yes
    (If you cannot fit all of the defendants' names                             □No
    in the space provided, please write "sec
    attached" in the space above and attach
    additional sheets of paper, as necessaty, with
    the full list of names. The names listed here
    must be identical to those in Section IL Do not
    include addresses here, Individuals whose
    names are not included in this section wlll
    not be considered defendants in this action.)


                                                      WARNINGS

    I.      Do not use this form if you are challenging the validity of your criminal conviction or
    your criminal sentence. If you are challenging your conviction or sentence, or if you are seeking
    restoration of good-time credits that would shorten your sentence, you must file a Petition for
    Writ of Habeas Corpus. If you use this form to challenge your conviction or sentence, you risk
    having your claim dismissed. Separate forms are available for filing a habeas petition,

    2.      Under the Prison Litigation Reform Act ("PLRA"), you are required to exhaust all
    remedies in your institution's grievance system that are available to you before filing suit. This
    generally means that you must file a grievance and, if it is denied, appeal it through all available
    levels of review. Your case may be dismissed if you fail to exhaust administrative remedies,
    unless the administrative grievance process was not "available" to you within the meaning of the
    PLRA. You are not required to plead or show that you have exhausted your claim in this
    complaint.

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3.       Please review your complaint carefully before filing. If your case is dismissed, it may
affect your ability to file future civil actions while incarcerated without prepaying the full filing
fee. Under the PLRA, a prisoner who has had three or more civil actions or appeals dismissed as
frivolous, malicious, or for failure to state a claim cannot file a new action without first paying
the full filing fee, w1less the prisoner is in imminent danger of serious bodily injury.

4.      .Under Federal Rule of Civil Procedure 5.2, papers filed with the court, including exhibits
or attachments to a complaint, may not contain certain information, which must be modified as
follows:
          Do not include:                           · Instead, use:
          • a full social security number             ➔ the last four digits
          • a full birth date                         ➔ the birth year
          • the full name of a minor                  ➔ the minor's initials
          • a complete financial account number ➔ the last four digits

5.      You may, but do not need to, send exhibits, affidavits, grievances, witness statements, or
any other materials to the Clerk's Office with this complaint. Any documents you submit must
relate directly to the claims you raise in this lawsuit. They will become part.of the court record
and will not be returned to you.


I.        PLAINTIFF INFORMATION

 I   "h:k fAillu 11)o.,\'.J ,'\IV\ k· s :t          I.,\   ✓

                                                                              Aliases/Former Names


     Priso;;er ID #




     County, City                                                             Zip Code

     Indicate your status:

     □ Pretrial detainee                                       Convicted and sentenced state prisoner
     □ Civilly committed detainee                              Convicted and sentenced federal prisoner
     □ Immigration detainee

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II.     DEFENDANT INFORMATION

Please list thefollowing'informationfor each defendant. If the correct information is not
provided, it could delay or prevent se111ice ofihe complaint. Make sure that the d�fendant(s)
listed below are identical to those contained in the caption on the.first page of the complaint.
Attach additional sheets ofpaper as necessary.

Defendant 1:
                 Name (Last, First)


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                  Current   qrk Address

                �Po�
                County, City
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                             ·
                                          . , ,N'c:
                                       State                                  Zip Code

Defendant 2:.    \.lol�,�•O)I · trl<>,llsq
                               .
                 Name (Last, First)
                                              Uv,Ji::C, 1 'fSvcokyn/r\[(:) Assoc ,ro.½ ·

                 Current Job Title


                 Current Work Address

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                                                       State
                                                                                  1   {',
                    nnty, City                                               . Zip Code

Defendant 3:     · GI o.r iJ·,,ert\/A I L·
                         I
                  Name (Last, First)

                 PS0choLo0:¢ -[½ £;t; D -e.c. r-) _. 4VI
                 Current Job Title


                 Current Work Address


                                                       State                  Zip Code


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III.         STATEMENT OF CLAIM(S)

In.this section, you must explain what you believe each defendant did to violate your civil rights,
and ifyou know, identify the federal statutory or constitutional right you believe was violated.

lfyou believe the defendant(i) violated your civil rights in more than one way, explain each
violation u11der a different count. For example, ifyou believe you received constitutionally
inadequate medical care and your religious rights were substantially burdened, include one
claim under "Count I" (i.e., medical) and the other claim under "Count 11" (i.e., religion).

Numberyourparagraphs. For example, in Count I, paragraphs should be numbered 1.1, 1.2,
1.3, etc., am! in Count II, paragraphs should be numbered 2. l, 2.2, 2.3, etc. The first two
paragraphs of each Count have been numberedfor you.

{fyou have more than three counts, attach additional pages andfollow the same format for each
count.

ffyou attach documents to support the facts ofyour claim(s), you must specify which portion of
the document(s) (i.e., page and paragraph) you are relying on to support the specific fact(s) of
your claimM. If vou do not specify the portion ofthe supporting documentQ,'), the Court may
disregard your documentGv).

                                                  COUNTI

Identify the first right you believe was violated and by whom:




State thefacts ofyour first claim below. Include all the facts you consider important. Be
specific about dates, times, locations, and the names of the people involved. Describe exact�v
what each specific d4endant did or failed to do that caused you injwy or violated your rights,
and in.elude any other.facts that show why you believe what happened was wrong. Ifyou need
additional space, you may attach extra sheets.
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events you described
               .       above in Count l Continue to number,your paragraphs.
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                                              COUNT II

Identify the second right you believe was violaied and by whom:

2.1

                                                     Ct clo.y,

State the (acts ofyour second claim below. Include all the.fadi you consider important. Be
specific about dates, times, locations, and the names of the people involved. Describe exactly
what each specific defendant did orfailed to do that caused you injwy or violated your rights,
and include any other facts that"show why you believe what happened was wrong. ffyou need
additional space, you may attach extra sheets.

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State with specificity the iniun, harm, or damages you believe you s1iffered as a result of the
events you described above in Count �I. Continue .to number your paragraphs.




                                                      COUNT Ill

Jdent/jj, the third right you beli�e was violated and by whom:




                                                            I
State the (acts ofyour third claim below. Include all thefacts you consider important. Be
specific about dates, times, locations, and the names ofthe people involved, Describe exactly
what each specific defendant did or Jailed to do that caused you inju,y or violated your rights,
                                                                                      f
and include.any otherfar:ts that.show why you believe what happened was wrong. J you need
additional space, you may attach extra sheets.




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State with specificity the iniurv, harm, or damages you believe you suffered as a result of7lie
events you described above in Count Ill. Continue to number you,·paragraphs.

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 IV.            RELIEF

 State exact/5':iwhat you want the Court to do.for you .. For example, you may be seeking money
 damages from an individual defendant, you may want the Court to order a defendant to do
 something or to stop doing.something, or you may want both kinds ofrelief Make no legal
 arguments. Cite no cases or statutes,
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·. By signing this complaint, you represent to the Court that you believe the facts alleged to be true
   to the best ofyour knowledge, that you believe those facts show a.violation of law, and that you
   are notfi.ling this coinplaint to harass anoiher person orfor any other improperpwpose.


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                                                                                                          P1aintifrs Signature



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CARE REVIEW COMMITTEE REPORT
DATE:                                          CONSULT ID:                                  INSTITUTION:                                . ERO:
11/30/2021                                     130909                                       AHCC                                          9/2212027
PRIMARY CARE PRACTITIONER:                                    ATTENDING PHYsiclAN:                                         CASE PRESENTED BY:
'                                   Burt, Nathaniel B.                                                                     Burt, Nathaniel B.
Case Synopsis/Differential or Working Diagnosis:
see MER in chart




· intervention Proposed;
  GD CRC consult to 'review external cohsultant assessment for surgery"




 Committee Recommendations;
 Level 1



Recom.mendatlon Legend:                Level·! -Approved As Medically Necessary                       Level Ill - Not Approved: Not Medically Necessary

 End Date of Approval (if indicated);
 Voting Members Present:
 DR. Samir Aziz, Dr. F. Longano




                                                                                        PRACTITIONER SIGNATURE:

                                                                                        Burt, Nathaniel B.
    Stille law (llCW 70.02; RCW 10,24,IOS; RCW 71.0S.390) aild/or federal regulati0ns (42 CFR Part 2: 4S CPR Part 164) prohibit disclosure of this infonnalion withoul the spccifio
                                               wri1te.11 consent of 1tte persot1 lo whom ii pertains, or as otherwise permitted by law.

DOC 13-395 (12/06/2012)                                                                                                                                         CONSULTATION
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